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purpose of initiating the civi] docket sheet.

Case 2:23-cv-O0580-AR GAG AY OH ee 04/1 0/58

The Js 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as Beeson

 

Page 1 of 1

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This form, approsed by the Judigial Conterence of the | nited States in September 197-4, is required for the use of the Clerk of Court for the

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I. (a} PLAINTIFFS

Jose DeCastro

tb) Counts ef Residence of Tirst [ tsted Plaintiff
thYCT PLING S PANTIE COISES)

Los Angeles, California

CE} Attormers fare: Nunte tedden ind delepltane Newthers

In Pro Per

1258 Franklin St.. Santa Monica. CA 90404

310-963-2445

chille@situationcreator.com

DEFENDANTS

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Attores s ft Aarau

 

Counts of Residence of birt [ inted Defendant
ANOS PILUNTIEE CIUSESOND):

IND AND CONDEMNATION CASESOESE DOE COC VON of
THE TRACT OF LANDINVODVED

Las Vegas Metropolitan Police Department: State of Nevada; Branden
Bourque: Jason Torrey; C. Dingle: B. Sorenson: Jesse Sandoval:

Officer Doolittle: and DOES 1 to 50 inclusive
Clark. Nevada

 

I]. BASIS OF JURISDICTION vrei

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VI. CAUSE OF ACTION

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Brigt description of cause
Violation of first. i

ourth, fourteenth. amendments. Wrongful arrest of a member of the press.

 

VII. REQUESTED IN
COMPLAINT:

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UNDER REL

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